UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF NEW MEXICO
IN RE:

Dorothy Marie Byrd,
Debtor(s). Case No. 18-11852-t7

WELLS FARGO BANK N.A.'S RESPONSE TO MOTION TO APPROVE TRUSTEE'S SALE OF
REAL PROPERTY TO TIMOTHY COVELL

Wells Fargo Bank, N.A. ("Wells Fargo"), by and through its undersigned counsel, for its
response to the Motion to Approve Trustee's Sale of Real Property to Timothy Covell ("Motion"),
states:

1. Wells Fargo admits the allegations of paragraphs 1, 2, and 4 of the Motion.

2. Wells Fargo admits that part of paragraph 3 of the Motion which alleges that the
Debtor is the owner of property commonly known as 10516Towner Aveue NE, Albuquerque,
New Mexico 87112, but denies the remainder of the paragraph.

2. Wellls Fargo is without sufficient information to admit or deny the allegations of
paragraphs 5, 6, 7, 8, 10, 11, and 12 of the Motion, therefore denies the same, and demands
strict proof thereof.

3. Wells Fargo admits that part of paragraph 9 of the Motion which states that
Wells Fargo holds a second mortgage on the subject property, but denies the remainder of the
paragraph. Wells Fargo affirmatively states that it has not consented to a negotiated release of
its mortgage lien.

Wherefore, having responded to the Motion to Approve Trustee's Sale of Real Property
to Timothy Covell, Well Fargo Bank N.A. respectfully requests the Court to deny the Motion,

and for such other relief as the Court deems appropriate.

By: LL A yf
Karen H. Bradl

Attorney for Wells Fargo Bank, N.A.
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| hereby certify that a true and correct copy of the foregoing was either electronically
transmitted, faxed, delivered or mailed to the listed counsel and parties:

1. P. Diane Webb, Debtor's Attorney, PO Box 30456, Albuquerque, NM 87190-0456

2. Philip J. Montoya, Trustee, 1122 Central Ave SW, Suite 3, Albuquerque, NM 87102

3. Dorothy Marie Byrd, Debtor, 10516 Towner Ave NE, Albuquerque, NM 87112

4. Daniel Grunow, McCarthy & Holthus, LLP, Attorneys for Nationstar Mortgage, LLC, 6501
Eagle Rock NE, Suite A-3, Albuquerque, NM 87113

on June 24, 2019.

S/Electronically Filed/ June 24 2019
Krista Jones

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